Case Case
     1:21-cv-01490-CFC    Document
          1:25-cv-00766-JEB        326-3123-2
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(ORDER LIST:   601 U.S.)


                            MONDAY, JANUARY 22, 2024


                             ORDER IN PENDING CASE


23A607      DEPT. OF HOMELAND SEC., ET AL. V. TEXAS

                  The application to vacate injunction presented to Justice

            Alito and by him referred to the Court is granted. The December

            19, 2023 order of the United States Court of Appeals for the

            Fifth Circuit, case No. 23-50869, is vacated.

                  Justice Thomas, Justice Alito, Justice Gorsuch, and Justice

            Kavanaugh would deny the application to vacate injunction.
